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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                           SOUTHEASTERN DIVISION


HANNAH BELL, et al.                          )
                                             )
                Plaintiffs,                  )
                                             )
          vs.                                )           Case No. 1:24-CV-190 SNLJ
                                             )
THE TOWNSEND CORPORATION                     )
OF INDIANA, et al.,                          )
                                             )
                Defendants.                  )


                              MEMORANDUM AND ORDER

       This matter is before the Court on defendant The Townsend Corporation of

Indiana’s filing of its Corporate Disclosure Statement [Doc. 19]. Section 2 of the

Corporate Disclosure Statement requires the “name and citizenship of every individual or

entity whose citizenship is attributed to that party…, including all members, sub-

members, general and limited partners, and corporations.” Defendant is an LLC. The

Eighth Circuit has held that unincorporated entities such as LLCs are citizens of every

state of which any member is a citizen. See GMAC Commercial Credit, LLC v. Dillard

Dep’t Stores, Inc., 357 F.3d 827, 829 (8th Cir. 2004).

       The defendant LLC’s sole member is an LLC. That sole member’s sole member

is also an LLC, and that sole member has an LLC—Townsend Acquisition Parent,

LLC—as its sole member, as well.




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       Townsend Acquisition Parent, LLC, has eight members. Four members are

corporations, and their states of citizenship (Indiana and Kentucky) are properly listed.

However, there are two individual members, and their states of residence are listed, not

their states of citizenship. Alleging residence is insufficient for purposes of determining

whether diversity jurisdiction exists. See Reece v. Bank of New York Mellon, 760 F.3d

771, 777-78 (8th Cir. 2014). Finally, two members are themselves LLCs—Townsend

Acquisition Management Aggregator, LLC, and WEP Townsend Investment, LLC. The

citizenships of those two LLCs have not been listed.

       Accordingly,

       IT IS HEREBY ORDERED that, by December 31, 2024, defendant shall file an

amended Corporate Disclosure Statement that accurately and completely lists the

citizenship of its members.



       Dated this 16th day of December, 2024 .



                                            STEPHEN N. LIMBAUGH, JR.
                                            SENIOR UNITED STATES DISTRICT JUDGE




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